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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                                CASE NO. 1:19-CR-117
v.
                                                                HON. ROBERT J. JONKER
LARRY CHARLES INMAN,

            Defendant.
__________________________________/

                                               ORDER

         The United States moves for leave to file its motion in limine regarding Inman’s diminished

capacity defense, brief, exhibits, and certificate under restricted access. The Court denies the motion.

If Defendant is planning a diminished capacity defense and has a proposed expert the government

seeks to exclude, the issue must be resolved in open Court.

         Accordingly, the motion for restricted access filing (ECF No. 55) is DENIED. The

government’s motion and related papers will be filed on the public record on Friday, November 8,

2019; unless not later than November 7, 2019, Defendant files a withdrawal and waiver signed by

both Defendant and his counsel of any potential diminished capacity defense, and an abandonment

of any intent to rely at trial on the testimony of Dr. Baker.



Dated:        October 31, 2019                  /s/ Robert J. Jonker
                                                ROBERT J. JONKER
                                                CHIEF UNITED STATES DISTRICT JUDGE
